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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
 EAG/NIS/MCM                                         271 Cadman Plaza East
 F. #2019R00029                                      Brooklyn, New York 11201



                                                     June 8, 2022

 By ECF

 The Honorable Ann M. Donnelly
 United States District Judge
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                Re:     United States v. Robert Sylvester Kelly
                        Criminal Docket No. 19-286 (S-3) (AMD)

 Dear Judge Donnelly:

                The government respectfully submits this letter in connection with the sentencing
 of the defendant Robert Sylvester Kelly, scheduled for June 29, 2022. In light of the seriousness
 of the offenses, the need for specific deterrence and the need to protect the public from further
 crimes of the defendant, as well as the other factors set forth in 18 U.S.C. § 3553(a), the
 government respectfully submits that a sentence in excess of 25 years is warranted.

                                         BACKGROUND

                The evidence adduced at trial consisted of testimony from 50 witnesses—
 45 witnesses called by the government and five called by the defendant—and hundreds of
 exhibits admitted at trial. A complete summary of the evidence (including the enterprise, its
 purposes and methods) supporting each of the counts of which the defendant was convicted was
 included in the government’s opposition to the defendant’s motion for a judgment of acquittal
 (Gov’t’s Mem. of Law in Opp. to the Def’t’s Mot. for a Judgment of Acquittal, dated March 21,
 2022 (ECF Dkt. Entry No. 278)), which detailed factual summary is incorporated herein by
 reference.

                 As established at trial and set forth in the Pre-Sentence Investigation Report
 (“PSR”) and its addendum, with the aid of his inner circle and over a period of decades, the
 defendant preyed upon children and young women for his own sexual gratification. In order to
 carry out his many crimes, the defendant relied upon his fame, money and popularity as an R&B
 recording star and used the large network of people his status afforded him – including his
 business managers, security guards and bouncers, runners, lawyers, accountants, and assistants –
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 to both carry out and conceal his crimes. He continued his crimes and avoided punishment for
 them for almost 30 years and must now be held to account.

                 Generally speaking, the conduct underlying the defendant’s crimes of conviction
 falls within the following four categories: (1) enticement of children; (2) the sexual exploitation
 of children through the production of child pornography; (3) forced labor; and (4) exposure of
 others through unprotected sexual intercourse to an incurable communicable disease, namely
 genital herpes, without first informing his sexual partners and obtaining consent to sexual
 intercourse in these circumstances.

 I.     Enticement of Children
                 As established at trial, the defendant has a long and pervasive history of enticing
 children to engage in sexual activity, including when they were too young to legally consent to
 sexual activity. His career as a recording artist and performer took him all over the United States
 (and the world) for concert tours, other performances and events starting in the early 1990s and
 he quickly took advantage of his access to adoring fans and musical hopefuls who jumped at the
 chance to meet him. He lured young girls and boys into his orbit, often through empty or
 conditioned promises of assistance in developing a career in the entertainment industry or simply
 by playing into the minors’ understandable desire to meet and spend time with a popular
 celebrity. Notably, believing (rightly, for a period of time) that his fame and role as leader of the
 enterprise made him untouchable, the defendant often engaged in this criminal conduct in plain
 sight, doing so around and/or with the assistance of others.
                  In the early 1990s, the defendant sexually abused Jane Doe #7, who testified at
 trial using the pseudonym “Angela,” beginning when she was 14 or 15 years old. The sexual
 abuse began immediately after the defendant met Angela for the first time at his small two-
 bedroom apartment along with at least two other girls who were also in high school and with
 whom the defendant also engaged in illegal sexual activity. The defendant sexually abused
 Angela and the other girls in his bedroom while members of his inner circle were in the living
 area directly outside. As would become a pattern, the defendant made clear to Angela and the
 other girls, who the defendant later formed into a “girl group” and, in the case of Angela,
 employed as a background dancer for his tours, that sexual activity with him was the price of
 admission to be around him and get access to any opportunities he could provide them within the
 music industry. As Angela testified, the defendant made clear to her and other girls in no
 uncertain terms that they had to “pay [their] dues” and engage in sexual activity with the
 defendant at his direction and, at times, for violating his rules. (T. 3288-89, 3302-03).
                 In 1992 or 1993, the defendant met Aaliyah Haughton, an aspiring singer who
 subsequently became his musical protégé, and began to sexually abuse her when she was just 12
 or 13 years old. The defendant used his access to young Aaliyah – claiming to need extra time
 alone with her for rehearsal and bringing her on tours to show her the ropes – to carry out his
 abuse of her, one time even shamelessly sexually abusing her by giving her oral sex in the back
 of his tour bus while others were in the vicinity. Faced with the possibility that his abuse of
 Aaliyah would be made public after she believed that she was pregnant at just 15 years old, in
 August 1994 the defendant gathered members of his enterprise to help him carry out the bribery
 of a government official so that he could fraudulently and surreptitiously marry Aaliyah in an


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 attempt to conceal the abuse and avoid punishment. Not only did the defendant abuse Aaliyah—
 who because of her untimely death in a 2001 airplane crash could not testify at trial—but he
 made her party to his criminal coverup scheme, having her fraudulently sign a marriage
 application using the illegally-obtained identification to falsely claim she was 18 years old.
                    In September 1994, just days after secretly marrying 15-year-old Aaliyah, the
 defendant sexually assaulted a 17-year-old girl, identified in the PSR as Jane Doe #8 and who
 testified at trial as “Addie,” after two of the defendant’s associates approached her and brought
 her and a friend backstage to get the defendant’s autograph after a performance. Because Addie
 was just 17, she was not old enough to consent to such sexual conduct in Florida. Addie was
 brought to the defendant’s dressing room which was filled with press and other men where she
 spoke briefly to the defendant—who not only provided his autograph on her concert program,
 but also wrote down his hotel room number—about the fact that she was an aspiring dancer.
 True to form, the defendant mentioned the possibility of an audition and, after learning from
 Addie that she was 17, had his associate clear the room of everyone except for him, Addie and
 her friend. Within minutes, in that locked dressing room, the defendant began kissing Addie
 (and her friend), became aggressive, moved Addie to one side of the room, held her wrists,
 pulled down her shorts and penetrated her vagina from behind with his penis. When the
 defendant was finished—shocked and scared—Addie ran from the room with her friend.
                In or about 1995, the defendant met Jane Doe #9, a 17-year-old girl, at a Florida
 mall and thereafter commenced a sexual relationship with her, in violation of Florida law.
 Notably, Jane Doe #9 contracted herpes during her relationship with the defendant and disclosed
 her diagnosis to the defendant. At the time of her diagnosis, Jane Doe #9 was only sexually
 active with the defendant.
                 In or about 1998, the defendant noticed Stephanie 1 at the Rock and Roll
 McDonalds in Chicago and had one of his associates approach her, point the defendant out and
 give Stephanie the defendant’s telephone number, notwithstanding that Stephanie had informed
 the associate she was only 16 years old at the time. Stephanie discarded the telephone number
 and did not contact the defendant at that time. Approximately a year later, when Stephanie was
 17 years old, she approached the defendant after learning that he was at a nearby Nike store to
 see if he was willing to listen to her friend, an aspiring vocalist, sing and potentially help that
 friend with her career. The defendant told Stephanie that “he thought we could arrange that, but
 he’d like to get to know [Stephanie] and he also said that he likes to cuddle and would
 [Stephanie] be okay with that,” to which Stephanie responded yes. (T. 1630). The defendant
 then gave Stephanie his telephone number and told Stephanie to call him, which she ultimately
 did. Thereafter, the defendant invited Stephanie to his Chicago studio and the two ultimately
 engaged in sexual intercourse. 2 Notably, the defendant was aware of Stephanie’s age, as
 Stephanie told him she was 17 on either the first or second occasion she visited the defendant’s
 studio. They continued to have sex over the next approximately six months. Stephanie’s sexual
        1
                Stephanie is identified as Jane Doe #2 in the third superseding indictment and the
 PSR.
        2
                The sexual contact between Stephanie and the defendant did not violate Illinois
 law.


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 interactions with the defendant were “humiliating.” (T. 1638). Stephanie described those
 interactions as follows:
                He would be very specific in how he wanted me to be. He would
                put me in positions that he wanted me to be in. He would tell me
                that he wanted me – he’d tell me to get undressed and then he
                would position my body in a way and he would then say, all right,
                I’m going to go and when I come back I want you to be just like
                this. So I would just be completely naked with my butt in the air
                and just like waiting there for him to come have his way . . . .
                Sometimes hours.
 (T. 1638). When the defendant returned to the room and Stephanie was not in the position he
 had told her to be in, the defendant became very disappointed and angry, yelling at her. At some
 point after Stephanie had told the defendant she was 17 (and while she remained 17), the
 defendant took Stephanie to his townhouse and directed her to participate in his creation of child
 pornography, videotaping her naked and as he engaged in sexual activity with her. On another
 occasion, in approximately October 1999, 3 Stephanie traveled to see the defendant in Orlando,
 Florida. While there, the defendant took Stephanie to a recording studio and used a handheld
 video camera to record Stephanie’s face as his penis was in her mouth and she was giving him
 oral sex. In yet another act of humiliation, the defendant ejaculated on Stephanie’s face and did
 not let her wipe it off, instead telling Stephanie she had to walk down the hall (in a more public
 area of the studio) to another bathroom to wipe her face.
                During the course of her time with the defendant, he made clear to Stephanie that
 she was not permitted to speak to other men. On one occasion, she was at a Houston’s restaurant
 in Chicago with the defendant and two rappers. Stephanie was not allowed to speak to the
 rappers during the meal, but heard the defendant tell them “that he likes young girls and that
 people make such a big deal of it but it really isn’t a big deal because, even, look at Jerry Lee
 Lewis, he’s a genius and I’m a genius and we should be allowed to do whatever we want because
 of what we give to this world,” (T. 1648-49), thus evincing his clear belief that he could act with
 impunity in committing crimes involving minors because of his self-proclaimed musical
 “genius” status, which – in his mind –constituted a free pass to do as he pleased without
 consequence.
                In 2005, the defendant spotted Alexis 4 – then just 15 years old – after one of his
 concerts and thereafter began a years-long sexual relationship with her. That same year, the
 defendant met a teenage boy, who testified at trial using the pseudonym “Louis,” 5 then 17 years

        3
               Stephanie turned 18 in mid-October 1999. She could not recall whether this trip
 occurred before or after her 18th birthday. (T. 1653).
        4
                Alexis is identified as Jane Doe #13 in the PSR and the government’s in limine
 motions.
        5
                Louis is identified as John Doe #1 in the PSR and the government’s in limine
 motions.


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 old, while he was working at a McDonalds close to where the defendant played basketball at the
 time. After first meeting Louis, the defendant again used his status in the music industry to
 induce Louis to meet with him again. The defendant also groomed Louis and his family, inviting
 them to a party at his home and having Louis meet him at his home studio in Olympia Fields.
 When the defendant had Louis alone, he asked Louis, who had dreams of making it as a rapper,
 what Louis was willing to do to make it in the business, after which the defendant gave Louis,
 still just 17 years old, oral sex and video-recorded their sexual encounter. On another occasion,
 the defendant also directed a female, who Louis did not know, to give Louis oral sex while the
 defendant watched. Louis testified that the defendant made clear to Louis that sexual contact
 with him was a prerequisite if Louis wanted the defendant to help him in the music business.
 Like others, the defendant’s promises to help Louis in the music industry were empty and instead
 just a ploy to entice a 17-year-old boy to have sexual contact with the defendant and others at his
 direction, and, on certain occasions, to film that conduct.
                 In 2009 and continuing for a six-month period into 2010, the defendant sexually
 abused Jerhonda, 6 who was then 16 years old, and a big fan of the defendant’s music. The
 defendant invited Jerhonda to his home, and once alone with her directed Jerhonda to remove her
 clothing and walk back and forth naked before him. The defendant thereafter engaged in sexual
 contact with Jerhonda and then had sexual intercourse with her, at times, as described further
 below, making sexually explicit videos of Jerhonda while she was 16. That same year, the
 defendant began to have sexual contact with Dominique, who was just 17 years old. 7 To meet
 Dominique, the defendant relied upon the 16-year-old Jerhonda to introduce him to Dominique,
 one of her friends.

                  In 2015, the defendant met another young girl who testified under the pseudonym
 “Jane” at trial, who was 17 years old, after spotting her at one of his concerts and using members
 of his entourage to ensure Jane received his telephone number. Shortly thereafter, the defendant
 engaged in sexual contact with Jane under the guise of an audition in his hotel room and soon
 convinced Jane to travel across the country with him and ultimately to spend her senior year of
 high school living with him. In April 2015, the defendant arranged for Jane to travel from
 Orlando to Los Angeles to see him. Again, the defendant promised to help Jane with her musical
 aspirations, a false promise he used to entice her to remain with him. Notably, when Jane
 disclosed to the defendant that she was 17 years old, rather than end his relationship with Jane,
 the defendant arranged for the mother of another of his girlfriends, “Juice,” to serve on paper as
 Jane’s purported legal guardian, while the defendant continued to travel, live and have sex with
 Jane. 8



        6
                 Jerhonda is identified in the third superseding indictment and the PSR as Jane
 Doe #4.
        7
                 Dominique is identified in the PSR and the government’s in limine motions as
 Jane Doe #17.
        8
                 Notably, in 2017, the defendant revealed to Faith that “there is some females that
 I’m raising. I have a group of women that I raised. He said some women have been with me for

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                During the course of time Jane was with the defendant and as described in more
 detail below, he prescribed a number of rules for Jane and his other girlfriends to follow,
 exercising coercive control over them. 9 The defendant began enforcing these rules shortly after
 Jane met him by punishing her when she did not follow his prescribed rules or comply with the
 established protocols. Those punishments included spankings, which the defendant called
 “chastisements,” vicious physical assaults, and confinement of Jane to a room or a bus for
 prolonged periods of time.

 II.    The Production of Child Pornography
                   For decades, the defendant also created and maintained child pornography.
 Several witnesses testified that the defendant recorded their engaging in sexual activity with the
 defendant and others at the defendant’s direction. Witness after witness described how the
 defendant scripted every aspect of the sexual activity, acting as the writer, producer and director
 of each encounter. As described above, in 1999, the defendant sexually exploited Stephanie. He
 summoned her to his house, where he filmed her engaging in sexually explicit behavior and them
 having sex. Fearful that the recording might be distributed, Stephanie begged the defendant to
 return or destroy the recording, but he never did. To this day, Stephanie fears that the recording
 still exists. In later years, the defendant also recorded Jerhonda and Jane 10 also engaging in
 sexually explicit conduct while they were each under 18 years old.
 III.   Forced Labor
                 The defendant methodically groomed the women and girls in his orbit to meet all
 of his sexual needs. First, he promulgated an extensive set of rules. He had the women and girls
 call him, “Daddy,” and directed them to wear sweats or other baggy clothing. When he entered a
 room, he expected the women and girls to immediately stand and greet him with a kiss. In more
 recent years, including the entirety of the time Jane spent with him, the defendant’s coercive
 tactics grew even more brazen. The defendant did not permit the women and girls to speak with
 or even look at other men. In an elevator, they were expected to turn to face the back. While
 walking through hallways, they were expected to look to the floor. In commercial
 establishments, they had to direct their inquiries to a female employee or leave the establishment.

                As part of his grooming process, the defendant severely isolated the women and
 girls. The defendant discouraged communication with their family members and friends and
 prohibited the use of social media. They were also not permitted to exchange personal
 information with the other women who lived with the defendant.

 five years, some women have been with me for a year, some women have been with me for 15
 years.” (T. 2197).
        9
                At trial, Dr. Dawn Hughes testified that isolation, indoctrination, intimidation,
 subjugation, surveillance, secrecy, humiliation and collateral all may be used as a means of
 coercive control. (T. 3928-33).
        10
                Jane is identified in the third superseding indictment and the PSR as Jane Doe #5.


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                 When the defendant arranged for women and girls to visit him, the defendant
 required them to spend their time waiting for him in a location that he dictated. Within a few
 weeks of meeting the defendant and traveling to Las Vegas with him, Jane tried to go to the mall,
 but an assistant made clear to her that she would need to first get the defendant’s permission.
 Jane told her mom, “Everyone [was] having fun,” but the defendant told her “do not leave that
 room.” (GX 233(i)). Faith testified that she spent hours on a Sprinter van waiting for the
 defendant, only leaving to go to the bathroom and only when she had the defendant’s permission.
 (T. 2208-10, 2223-26). More generally, witnesses advised that they often accompanied the
 defendant to meetings, social gatherings at restaurants and bars and other events, but the
 defendant often directed them to stay on the Sprinter van while he went to the meeting, gathering
 or event; if they needed a bathroom and could not obtain permission from the defendant to leave
 the van, they had to urinate in a cup. When the defendant learned that one woman had left the
 bus at a pitstop during a long-distance drive without first obtaining the defendant’s permission,
 he became enraged. An assistant testified that when the defendant learned of this transgression,
 she had never seen the defendant “so upset.” (T. 2025-34).

                The defendant required the women and girls to regularly write letters, purportedly
 confessing to generally false criminal activity and other embarrassing conduct. In these letters,
 they falsely confessed to stealing money and jewelry; they falsely admitted concocting elaborate
 robberies; one falsely claimed that she seduced the defendant when she was underage and
 threatened to claim he raped her if he would not engage in sexual activity with her. For
 safekeeping, the defendant kept certain of these letters in a document protector and in a locked
 safe.

                 The defendant also had certain women record videos in which they falsely
 claimed that family members had abused them. To make the allegations in these recordings
 appear genuine, the defendant directed the women to make their confessions shortly after he had
 physically assaulted them and had caused them to shed real tears of pain. The defendant also
 directed certain women to make videos depicting themselves engaging in humiliating behavior.
 At least three women made videos of themselves eating feces and rubbing it over their bodies.
 He filmed another young woman walking back and forth, naked, making derogatory comments
 about herself (which he directed her to repeat), over and over and over, after first spanking her
 multiple times.

                 The defendant required the women and girls to abide by all of his rules and
 punished anyone who violated those rules. He once sent a message to Jane, “I knew you were
 young. But that is no excuse to disobey me or not do what I tell you to do[.]” (GX 481).
 Significantly, the defendant also required women and girls to report any perceived violations by
 others.

                 The consequences for disobeying the defendant included violent spankings, other
 physical assaults, physical restraint and threats. He imposed these spankings on a regular basis.
 Jane recalled their occurring multiple times a week for a period of years. The spankings were
 painful, as made clear by one such incident video recorded by the defendant and played for the
 Court and the jury. (GX 382(a), GX328(b))). For what he perceived as greater violations, the



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 defendant physically assaulted the women and girls, using shoes, extension cords and other
 objects in his grasp. On other occasions, he required the woman or girl to remain in her room or
 on a bus for prolonged periods of time. On one occasion, he told one young woman who he
 perceived had disobeyed him that people are “murdered for doing shit like this.” (GX 485(b)).
 He then told that same woman that she needed to be on his “team” or else. (GX 485(b) (“If you
 bullshit me now, then I’m going to look at you like you’re not on my team at all[.]”)).

                  The physical abuse by the defendant was severe. For example, Jane testified that,
 on one occasion, the defendant spanked Jane and two other women who then lived with the
 defendant 15 times after they “paired off” and spoke openly about their relationships with the
 defendant in violation of the defendant’s rules. (T. 1035-41). On another occasion, when Jane
 was just 17 years old, stood 4’11” and weighed a mere 98 pounds, the defendant beat Jane all
 over her body with his fists and with his shoe. (T. 914-15). Jane also testified that she saw the
 defendant physically abuse his live-in girlfriends. (T. 925 (“I have seen him slap his other [live-
 in] girlfriends, open palm, I have seen him drag them by their hair, I have seen him punch them
 in their face and all over their bodies, and I have also seen him hit them with objects . . . . I’ve
 seen the defendant also use shoes and also once I did see him use a cord of some sort.”)).

                 Sometimes as punishment, the defendant confined women and girls to a particular
 location for a prolonged period of time. Jane testified that the defendant sometimes directed her
 to stay in a room until he determined that she had sufficiently apologized. (T. 938). Text
 messages from December 2015 to one of her close friends directly support Jane’s account. She
 wrote, “I was like can I take a shower, can I take a shower. And he [the defendant] was like no,
 you’re gonna stay in the room . . . .” (GX 935(b)). One of his assistants saw the defendant’s
 abuse and contemporaneously commented that Jane had been “confined” since the day before.
 (GX 240(c)). On another occasion, an assistant saw that the defendant confined Jane again – this
 time for a two-day period – and relied on the assistant and another woman to alternately keep
 watch over Jane. (GX 240(f)).

                 Relying on the pattern of activity described above and much more, the defendant
 regularly required the women and girls to engage in sexual contact with him and others, upon his
 command, including upon threat of physical violence. For example, the defendant’s sexual and
 physical abuse of Jerhonda culminated when the defendant slapped her, and choked her until she
 passed out, spit on her and told her to “put down [her] head in shame.” (T. 176-77). When
 Jerhonda got up off the floor, the defendant “instructed [her] to perform oral sex on him”
 (T. 177), and after Jerhonda complied with his’s instruction, he ejaculated on her face.

                After regularly physically and psychologically abusing Jane and other women, he
 required them to have sex with other women and even men. The defendant directed when these
 encounters took place, who participated and the particular sexual acts performed during the
 encounters, and often recorded them. The defendant regularly required Jane to have sexual
 contact with other men and women at his direction, including the women living with him, his
 assistants “LeeLee” and “Cassandra,” and a man he referred to as “Nephew,” whom she had
 never even seen prior to the defendant directing her to have sex with him.




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                 One such sexual encounter was vividly depicted in Government Exhibits 341,
 342, 343, a video of a sexual encounter between the man Jane knew only as “Nephew” – who
 testified as “Alex” – and another of the defendant’s live-in girlfriends. The video showed the
 defendant directing the woman to give Alex oral sex and then to have sexual intercourse with
 him. Specifically, the defendant physically positioned the woman so that she was in the precise
 sexual position the defendant wanted (GX 342(c)), and held onto the woman’s hair, as he
 forcefully and repeatedly pushed her mouth onto Alex’s penis. (GX 342(b)). The defendant
 maintained total control throughout the encounter. In fact, their facial expressions show two
 people who appear positively numb to what was happening; they just listened to the defendant
 and executed his commands.

                 On another occasion, upset that Faith had broken one of his rules, the defendant
 required her to give him oral sex after bringing her into a tiny room where a gun was present,
 grilling her with questions and telling her that there would be consequences if she lied. With his
 gun nearby, the defendant then placed a pillow on the floor, told Faith to get on her knees, pulled
 out his penis, grabbed the back of Faith’s neck, told her to “suck [his] dick” and pushed her
 forward so her mouth made contact with his penis. (T. 2252). Scared and intimidated, Faith
 acquiesced. As Faith described it, she was “under [the defendant’s] rules and he had a weapon
 so [she] wasn’t even going to step out of line.” (T. 2254).

                 In sum, the defendant used coercive control – exemplified by a pattern of
 isolation, rules, dependence, threats, intimidation tactics, physical abuse, and, on at least one
 occasion, the presence of a firearm – to force victims, including minors, to engage in sexual
 activity with the defendant and others at his direction and to become unwilling participants in his
 pornographic films he created.

 IV.    Exposure to Genital Herpes
                 The defendant also exposed multiple men, women, boys and girls to a sexually
 transmitted and incurable disease, genital herpes, without their knowledge or consent,
 notwithstanding that he had been explicitly told by his personal doctor to inform his sexual
 partners of his diagnosis and to use a condom when having sex. As early as 2004, the defendant
 had been diagnosed with genital herpes and exposed a woman who testified at trial using the
 pseudonym “Kate” 11 and another woman, Jane Doe #12, to herpes without their consent. Both
 sued him and received financial settlements in exchange for their silence, but the defendant
 nonetheless remained entirely undeterred by these financial consequences. Over the next 15
 years, the defendant engaged in unprotected sexual intercourse with multiple partners, exposing
 each of them to his genital herpes. As proven at trial, the defendant never disclosed his diagnosis
 to Jane or Faith and never sought their consent to engage in unprotected sexual activity in these
 circumstances. As did many of the defendant’s sexual partners before her (including Jerhonda),
 when she was just 17 years old, Jane contracted genital herpes from the defendant, a serious
 medical condition she will have to live with – and disclose to future partners – for the rest of her
 life. As Jane testified, she was “devastated” after receiving her diagnosis. (T. 853). She

        11
                Kate is identified in the PSR and the government’s in limine motions as Jane Doe
 #11.


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 explained, “I felt that this man had purposely given me something he knew he had, a situation
 that he could have controlled.” (T. 853). By contrast, when Jane told the defendant about her
 diagnosis, he appeared agitated and callously told her she could have contracted it from someone
 else. (T. 852-53). When she subsequently had herpes outbreaks, the defendant disparaged her,
 telling her “I think your pussy is broken.” (T. 855).

                                          DISCUSSION
 I.     The Guidelines Calculation

                 In his sentencing memorandum, the defendant lodges several objections to the
 Guidelines calculations set forth in the PSR and PSR addendum. Additionally, the government
 objects to certain aspects of the Guidelines calculation in the PSR and PSR addendum. Each of
 those objections is addressed below.

        A.      Racketeering Act One: Bribery related to Jane Doe #1 (Aaliyah)

                 As to Racketeering Act One, the defendant objects to the inclusion of a two-level
 enhancement under U.S.S.G. § 3B1.4 for the use of a person less than 18 years of age to commit
 the offense of bribery. (May 27, 2022 Sent. Mem. 4). While the government agrees with the
 Probation Department that the defendant used Aaliyah – then 15 years old – to perpetrate the
 marriage fraud, the government cannot say that he used her to perpetrate the bribery itself and
 therefore submits that the Court should not apply this enhancement.

        B.      Racketeering Act Two: Sexual Exploitation of a Child (Jane Doe #2 – Stephanie)

                 As to Racketeering Act Two, the defendant objects to the two-level enhancement,
 pursuant to U.S.S.G. § 2G2.1(b)(2)(A), which applies if the “offense involved—(a) the
 commission of a sexual act or sexual contact.” In the defendant’s view, the enhancement is
 duplicative of the sexual conduct in the base offense level. (May 27, 2022 Sent. Mem. 4-5). He
 is wrong. Sexually explicit conduct does not require the commission of a sexual act or sexual
 contact. “Sexually explicit conduct,” as defined by 18 U.S.C. § 2256(2) (see U.S.S.G. § 2G2.1,
 App. Note 1), includes, among other conduct, “lascivious exhibition of the anus, genitals, or
 pubic area of any person.” By contrast, a sexual act or sexual contact, defined by 18 U.S.C.
 §§ 2246(2) and 2246(3), see U.S.S.G. § 2G2.1, App. Note 2, does not include, and goes well
 beyond, such conduct, instead covering contact between certain body parts and intentional
 touching of body parts. Accordingly, the enhancement is not duplicative. See United States v.
 Coates, 462 F. App’x 199, 204-05 (3d Cir. 2012) (rejecting a defendant’s argument that where a
 defendant was convicted of a violation of 18 U.S.C. § 2251, the two-level enhancement under
 § 2G2.1(b)(2)(A) amounted to impermissible double counting).

        C.      Racketeering Acts Three and Four: Kidnapping/Mann Act Violation
                (Jane Doe #3 – Sonja)

                The defendant objects to the inclusion in the Guidelines calculation of the conduct
 related to Sonja, as alleged in Racketeering Acts Three and Four. (May 27, 2022 Sent. Mem. 5).
 The government submits that Sonja’s testimony was credible and supported by other evidence



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 and therefore is properly included in the PSR. While the government submits that this conduct
 has been proven by a preponderance of the evidence and constitutes relevant conduct, pursuant
 to United States v. Ruggiero, 100 F.3d 284 (2d Cir. 1996), because the adjusted offense level
 associated with the offense conduct even absent conduct related to Sonja carries a life sentence,
 the additional conduct related to Sonja has no bearing on the adjusted offense level and the
 government respectfully submits that the Court need not make a finding as to whether it should
 be included in the Guidelines calculation. Cf. United States v. Crosby, 397 F.3d 103 (2d Cir.
 2005) (“Now that the duty to apply the applicable Guidelines range is not mandatory, situations
 may arise where either of two Guidelines ranges, whether or not adjacent, is applicable, but the
 sentencing judge, having complied with section 3553(a), makes a decision to impose a non-
 Guidelines sentence, regardless of which of the two ranges applies. This leeway should be
 useful to sentencing judges in some cases to avoid the need to resolve all of the factual issues
 necessary to make precise determinations of some complicated matters, for example,
 determination of monetary loss.”).

        D.      Racketeering Act Five: Mann Act Violation (Jane Doe #4 – Jerhonda)

                1.     Grouping

                As an initial matter, the government disagrees with the Probation Department’s
 grouping of Racketeering Acts Five, Six and Seven. Section 3D1.2 of the United States
 Sentencing Guidelines (“U.S.S.G.”) provides that counts “involving substantially the same harm
 shall be grouped into a single Group” and then sets forth four means through which conduct
 should be grouped, including “[w]hen counts involve the same victim and the same act or
 transaction.” U.S.S.G. § 3D1.2(a). Application Note 3 explains:

                Under subsection (a), counts are to be grouped together when they
                represent essentially a single injury or are part of a single criminal
                episode or transaction involving the same victim.

                When one count charges an attempt to commit an offense and the
                other charges the commission of that offense, or when one count
                charges an offense based on a general prohibition and the other
                charges violation of a specific prohibition encompassed in the
                general prohibition, the counts will be grouped together under
                subsection (a).

                Examples: (1) The defendant is convicted of forging and uttering
                the same check. The counts are to be grouped together. (2) The
                defendant is convicted of kidnapping and assaulting the victim
                during the course of the kidnapping. The counts are to be grouped
                together. (3) The defendant is convicted of bid rigging (an
                antitrust offense) and of mail fraud for signing and mailing a false
                statement that the bid was competitive. The counts are to be
                grouped together. (4) The defendant is convicted of two counts of
                assault on a federal officer for shooting at the same officer twice
                while attempting to prevent apprehension as part of a single


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                criminal episode. The counts are to be grouped together. (5) The
                defendant is convicted of three counts of unlawfully bringing
                aliens into the United States, all counts arising out of a single
                incident. The three counts are to be grouped together. But: (6)
                The defendant is convicted of two counts of assault on a federal
                officer for shooting at the officer on two separate days. The counts
                are not to be grouped together.

 U.S.S.G. § 3D1.2, App. Note 3. The government submits that the conduct that formed the basis
 for each of the Racketeering Acts as to Jane Doe #4 (Jerhonda) did not involve the “same act and
 transaction” and did not substantially involve the same harm, and therefore should not be
 grouped. Rather, the conduct is most akin to the final example in Application Note 3, where a
 defendant is convicted of two counts of assault for shooting at the officer on two separate days, a
 scenario where grouping is not called for.

                  Racketeering Acts Five, Six and Seven relate, respectively, to (1) the Mann Act
 violation related to Jane Doe #4 (R.A. Five); (2) forced labor of Jane Doe #4 (R.A. Six); and (3)
 the sexual exploitation of Jane Doe #4 (R.A. Seven). As Jane Doe #4 testified at trial, on several
 occasions over the course of six months, the defendant, using his cellular telephone, induced
 Jane Doe #4 to come to his residence and engage in sexual contact with him. 12 Separately, on
 several occasions over a six-month period, the defendant video-recorded Jane Doe #4 engaging
 in sexually explicit conduct. And finally, in January 2010, the defendant caused Jane Doe #4 to
 engage in sex and oral sex with the defendant by means of force, threats of force, physical
 restraint, or threats of physical restraint and a scheme, plan, or pattern intended to cause Jane
 Doe #4 to believe that, if she did not perform such services, she would suffer serious harm or
 physical restraint. 13 Even though the conduct overlapped in time, these three types of conduct
 constitute separate acts or transactions and involve very different harm. See United States v.
 Vasquez, 389 F.3d 65, 77 (2d Cir. 2004) (“two episodes of sexual misconduct that society has
 legitimately criminalized occurring with the same person on different days are not ‘substantially
 the same harm’ for purposes of section 3D1.2.”).

                2.     Undue Influence Enhancement (Section 2G1.3(b)(2))

                 As to Racketeering Act Five, the defendant objects to the two-level enhancement,
 pursuant to U.S.S.G. § 2G1.3(b)(2). (May 27, 2022 Sent. Mem. 5-6). Section 2G1.3(b)(2)(B)
 provides that the enhancement is warranted when “a participant otherwise unduly influenced a
 minor to engage in prohibited sexual conduct . . . .” Application Note 3(B) explains:

                In determining whether subsection (b)(2)(B) applies, the court
                should closely consider the facts of the case to determine whether a

        12
                Jane Doe #4 did not testify that the defendant video recorded the sexual acts that
 occurred on the first occasion that Jane Doe #4 went alone to the defendant’s residence.
        13
                Jane Doe #4 did not testify that the defendant video recorded the sexual acts that
 occurred on the date in question when this conduct occurred in January 2010.


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                participant’s influence over the minor compromised the
                voluntariness of the minor’s behavior. The voluntariness of the
                minor’s behavior may be compromised without prohibited sexual
                conduct occurring . . . . In a case in which a participant is at least
                10 years older than the minor, there shall be a rebuttable
                presumption that subsection (b)(2)(B) applies. In such a case,
                some degree of undue influence can be presumed because of the
                substantial difference in age between the participant and the minor.

 U.S.S.G. § 2G1.3, App. Note 3(B). Here, the defendant was 26 years older than Jane Doe #4
 (Jerhonda), thereby giving rise to a rebuttable presumption of § 2G1.3(b)(2)(B)’s application.
 The defendant’s attempt to rebut this presumption by claiming that Jerhonda was “sophisticated”
 and “took great pains to get close to” the defendant (May 27, 2022 Sent. Mem. 5-6), is absurd.
 Jerhonda was a 16-year-old girl who was a devoted fan of the defendant’s music, nothing about
 which amounts to sophistication. By contrast, the defendant, a famous and wealthy musician
 who was 26 years her senior, induced her to engage in sexual contact with him, including after
 he learned that she was just 16 years old. Moreover, the defendant promulgated various rules
 that Jerhonda was required to follow in an effort to control Jerhonda and directed her to have
 sexual contact with others, including another woman, further evidencing the undue influence he
 wielded over her. In these circumstances, the defendant has not rebutted – and cannot rebut – the
 presumption. The enhancement is therefore warranted.

                3.     Interactive Computer Service Enhancement (Section 2G1.3(b)(3))

                 The defendant objects to the two-level enhancement, pursuant to U.S.S.G.
 § 2G1.3(b)(3), for the use of a computer or interactive computer service to induce the travel of a
 minor. (May 27, 2022 Sent. Mem. 6-7). There is ample evidence in the trial record that the
 defendant relied upon cellular telephones to communicate with Jerhonda, including for the
 purpose of arranging her travel to Olympia Fields to meet with and have sexual contact with him.
 Among other things, such evidence included telephone records and a cellular telephone used by
 Jerhonda (both entered into evidence at trial as Government Exhibits 139 and 210) showing
 telephone contact between Jerhonda and the defendant. The defendant’s argument that he did
 not use a cellular telephone to induce Jerhonda to travel to meet him was squarely rejected by the
 jury when it found Racketeering Act Five proven. The Court should therefore apply this
 enhancement.

                4.     Commission of a Sexual Act Enhancement (Section 2G1.3(b)(4))

                 The defendant objects to the two-level enhancement pursuant to U.S.S.G.
 § 2G1.3(b)(4). (May 27, 2022 Sent. Mem. 7). Section 2G1.3(b)(4) applies where the “offense
 involved—(a) the commission of a sexual act or sexual contact.” The defendant argues that the
 enhancement is duplicative of the sexual conduct in the charged offense. He is wrong. A
 violation of 18 U.S.C. § 2422 – the statute that formed the basis for Racketeering Act Five – is
 based on coercion of a minor for the purpose of illegal sexual activity and does not require that
 the illegal sexual activity in fact occurred. Accordingly, the enhancement is not duplicative. See
 United States v. Watkins, 667 F.3d 254, 262 (2d Cir. 2012) (rejecting defendant’s argument that
 two-level enhancement under § 2G1.3(b)(4)(A) amounted to impermissible double counting


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 because one could violate 18 U.S.C. § 2423 without committing a sex act). This enhancement is
 therefore applicable.

        E.      Racketeering Act Six: Forced Labor (Jane Doe #4 – Jerhonda)

                 As to Racketeering Act Six, the defendant objects to the four-level enhancement
 pursuant to § 2A3.1(b)(1). (May 27, 2022 Sent. Mem. 8). As an initial matter, Section
 2H4.1(b)(4) applies when “any other felony offense was committed during the commission of, or
 in connection with, the peonage or involuntary servitude offense . . . .” Application Note 2
 provides that “‘any other felony offense’ means any conduct that constitutes a felony offense
 under federal, state, or local law (other than an offense that is itself covered by this subpart).”
 U.S.SG. § 2H4.1, App. Note 2. When Section 2H4.1(b)(4) applies, the Guidelines dictate that
 the offense level should be increased to the greater of (i) the adjusted offense level according to
 2H4.1(a) to (b)(3) plus two levels, or (ii) the offense level form the offense guideline applicable
 to the other offense plus two levels, provided it is not greater than 43. U.S.SG. § 2H4.1(b)(4).

                 As noted above, the government submits that Racketeering Act Six should not
 been grouped with Racketeering Act Five or Racketeering Act Seven and that instead each act
 should be considered separately. As a result, the government also disagrees with the Probation
 Department’s assessment that the other felony offense that was committed during the
 commission of, or in connection with, the forced labor offense was sexual exploitation of a child,
 in violation of 18 U.S.C. § 2251(a). (PSR ⁋ 162; PSR Addendum ⁋ 162).

                 In the government’s response to the defendant’s objections to the PSR, the
 government argued that the conduct nonetheless amounted to a violation of 18 U.S.C. § 2241
 (aggravated sexual abuse) or 2242 (sexual abuse) and therefore an enhancement under Section
 2H4.1(b)(4) was warranted. However, upon further consideration, the government does not
 believe that the enhancement is warranted because the conduct did not take place in the territorial
 jurisdiction of the United States, a required element to establish a violation of 18 U.S.C. § 2241
 (aggravated sexual abuse) or 2242 (sexual abuse). Accordingly, the government does not seek
 the application of an enhancement under § 2H4.1(b)(4). Although the government does not seek
 that enhancement, its submits that the adjusted offense level without the enhancement under
 § 2H4.1(b)(4) does not reflect the full nature of the conduct – i.e., criminal sexual abuse 14 – and
 the Court may apply an upward departure under U.S.S.G. § 5K2.0(a).

        F.      Racketeering Act Seven: Sexual Exploitation of a Child (Jane Doe #4 – Jerhonda)

               As to Racketeering Act Seven, the defendant objects to the application of a two-
 level enhancement for the use of a computer or interactive computer service to induce the minor




        14
                 Jerhonda testified that immediately before the defendant instructed her to give
 him oral sex, the defendant choked her, causing her to pass out (T. 176-77), and thereafter caused
 Jerhonda to engage in a sexual act by placing her in fear that that she would be subjected to
 serious bodily injury, i.e., bodily injury that involves a substantial risk of unconsciousness.


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 to engage in sexually explicit conduct, pursuant to U.S.S.G. § 2G2.1(b)(6). (May 27, 2022 Sent.
 Mem. 9). Section 2G2.1(b)(6) provides that the two-level enhancement is warranted where:

                If, for the purpose of producing sexually explicit material . . . , the
                offense involved . . . the use of a computer or an interactive
                computer service to (i) persuade, induce, entice, coerce, or
                facilitate the travel of, a minor to engage in sexually explicit
                conduct, or to otherwise solicit participation by a minor in such
                conduct; or (ii) solicit participation with a minor in sexually
                explicit conduct . . . .

 U.S.S.G. § 2G2.1(b)(6). The government submits that the enhancement is properly applied. As
 described above, the defendant stayed in touch with Jerhonda by cellular telephone and regularly
 used a cellular telephone to communicate with Jerhonda in order to induce her to travel to see
 him and to instruct her to meet him in a location where he intended for Jerhonda to engage in
 sexually explicit conduct and to record such conduct.

        G.      Racketeering Act Eight: Mann Act Violation (Jane Doe #5 – Jane)

                1.      Application of Section 2G1.1 (versus Section 2G1.3)

                 The government respectfully disagrees with the Probation Department’s
 determination that the applicable guideline for Racketeering Act Eight is § 2G1.3 and instead
 submits that the applicable guideline is § 2G1.1. (PSR ⁋⁋ 174-81; PSR Addendum ⁋⁋ 175-77).
 Because at the time that the defendant committed the conduct alleged in Racketeering Act Eight,
 Jane had told the defendant that she was 18 years old and had not yet told him that she was in
 fact 17 years old, the government submits that § 2G1.1 is the more applicable guideline. 15

                2.      Fraud Enhancement (Section 2G1.1(b)(1)

                 As to Racketeering Act Eight, the defendant objects to the four-level enhancement
 pursuant to U.S.S.G. § 2G1.1(b)(1) based on fraud. (May 27, 2022 Sent. Mem. 9-10). The
 government submits the enhancement applies because the defendant failed to disclose that he had
 contracted genital herpes and engaged in unprotected sexual intercourse with Jane without first
 disclosing to her his herpes diagnosis and obtaining her consent to sexual intercourse in these
 circumstances. Although “fraud” is not defined in the Guidelines, the defendant asserts that a
 “fraud” requires the victim to suffer harm, but then offers no support for such a contention.
 Moreover, no such requirement is included in the Merriam-Webster definition of fraud, which
 includes the “intentional perversion of truth in order to induce another to part with something of
 value or to surrender a legal right” and an “act of deceiving or misrepresenting.” Accordingly,
 the four-level enhancement is warranted.


        15
                 Even though the government submits that Section 2G1.1 is the more applicable
 guideline, the government notes that the defendant was on notice of Jane’s true age when the
 defendant first met Jane at the Dolphin Hotel in Florida in April 2015 and police officers showed
 up at his hotel room and told him that her parents could not get in touch with her. (T. 793-94).


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                 Moreover, though not required, the defendant is incorrect that Jane suffered no
 harm as a result of her unknowing exposure to the defendant’s genital herpes through sexual
 intercourse in California in April and May 2015. As Jane testified, that trip was the first time she
 and the defendant had sexual intercourse. Because she was unaware of his genital herpes
 diagnosis due to the defendant’s failure to inform her of it, Jane continued to have unprotected
 sexual intercourse with the defendant, and thereafter contracted herpes from him (with which she
 was eventually diagnosed a few months later on August 14, 2015). Indeed, based on the
 evidence presented at trial, and the reasonable inferences to be drawn from it, there is no doubt
 that the defendant intended to deceive Jane (and all the other women and girls he had
 unprotected sexual intercourse without first disclosing his diagnosis). Years prior, he had been
 explicitly informed by his personal doctor to inform his sexual partners of his diagnosis and to
 use a condom during sex. He had also faced civil suits for infecting prior sexual partners with
 genital herpes. His preference for continued sexual intercourse without use of a condom clearly
 was more important to him than risking that a desired sexual partner would either decide not to
 have sexual intercourse with him at all or insist on the use of a condom if informed of his
 diagnosis. His decision not to disclose this material fact was clearly intentional, and not the
 result of any accident or mistake.

        H.      Racketeering Act Nine: Mann Act Violation (Jane Doe #5 – Jane)

                1.      Grouping

                 As an initial matter, the government disagrees with the Probation Department’s
 grouping of Racketeering Acts Nine and Ten. Those acts relate to (1) the Mann Act violation
 related to Jane Doe #5 (R.A. Nine) and (2) the sexual exploitation of Jane Doe #5 (R.A. Ten).
 The Mann Act violation centered on the defendant’s arranging for Jane Doe #5 to travel from
 New York to California for the purpose of sexual contact despite that Jane Doe #5 was too young
 to consent to sex. The sexual exploitation conduct related to the defendant’s recording of Jane
 Doe #5 engaging in sexually explicit conduct over the course of a longer time period. Even
 though the conduct overlapped in time, the conduct underlying each of these racketeering acts
 constitute separate acts or transactions and involved very different harm. See Vasquez, 389 F.3d
 at 77 (“two episodes of sexual misconduct that society has legitimately criminalized occurring
 with the same person on different days are not ‘substantially the same harm’ for purposes of
 section 3D1.2.”).

                2.      Application of Cross-Reference in Section 2G1.3(c)(1)

                 As to Racketeering Act Nine, the defendant objects to the base offense level of
 32, pursuant to U.S.S.G. §§ 2G1.3(c)(1) and 2G2.1(a), and submits that the proper base offense
 level is 24, pursuant to § 2G1.3(a)(4). (May 27, 2022 Sent. Mem. 10). According to the
 defendant, the applicable guideline for the offense charged in Racketeering Act Nine is § 2G1.3.
 The defendant ignores, however, that § 2G1.3 includes a cross-reference to § 2G2.1, where the
 offense level would be greater under § 2G1.2 and “the offense involved causing, transporting,
 permitting, or offering or seeking by notice or advertisement, a minor to engage in sexually
 explicit conduct for the purpose of producing a visual depiction of such conduct.” U.S.S.G.
 § 2G1.3(c)(1). Here, Jane testified that while she was in California, the defendant recorded
 sexual contact between Jane and the defendant. (T. 889). There is thus a preponderance of


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 evidence that “the offense involved causing . . . a minor to engage in sexually explicit conduct
 for the purpose of producing a visual depiction of such conduct.”

                3.      Custody, Care or Supervising Enhancement (Section 2G2.1(b)(5))

                 The defendant objects to the two-level enhancement pursuant to U.S.S.G.
 § 2G2.1(b)(5). 16 (May 27, 2022 Sent. Mem. 17). Section 2G2.1(b)(5) applies “if the minor was
 otherwise in the custody, care, or supervisory control of the defendant . . . .” The government
 submits that the evidence established that Jane’s parents had entrusted Jane to the supervision of
 the defendant (purportedly to assist Jane with her musical career), after which Jane lived with the
 defendant. (See, e.g., GX 476(a) and 475(a) (note authorizing Juice’s mother to have custody
 over Jane until she turned 18 years old); T. 862-65 (Jane testifying that after learning she was 17,
 the defendant told Jane that “she would need to be homeschooled and living with him in
 Chicago” so the defendant and Jane “convinced [her] parents to allow [her] to be homeschooled
 and be in Chicago so that I could learn more musically” and the defendant had her parents sign a
 document consenting for her “to be in Chicago under a woman that he had known”); T. 1279-80
 (Jane testifying that she and her parents knew Juice’s mother, the guardian chosen by the
 defendant, only through the defendant)). Therefore, the enhancement for Jane being in the
 custody, care, or supervisory control of the defendant applies. See U.S.S.G. § 2G2.1(b)(5).

        I.      Racketeering Act Ten: Sexual Exploitation of a Child (Jane Doe #5 – Jane)

                1.      Commission of a Sexual Act Enhancement (Section 2G2.1(b)(2)(A))

                 The defendant raises several objections as to the applicable guidelines calculation
 as to Racketeering Act Ten. First, the defendant objects to the two-level enhancement pursuant
 to U.S.S.G. § 2G2.1(b)(2)(A), which applies where the “offense involved—(a) the commission
 of a sexual act or sexual contact.” (May 27, 2022 Sent. Mem. 12-13). In the defendant’s view,
 the offense is duplicative of the sexual conduct in the base offense level. As described above, he
 is wrong. 17 Sexually explicit conduct does not require a sexual act or sexual contact. “Sexually
 explicit conduct,” defined by 18 U.S.C. 2256(2), see U.S.S.G. § 2G2.1, App. Note 1, includes,
 among other conduct, “lascivious exhibition of the anus, genitals, or pubic area of any person.”
 By contrast, a sexual act or sexual contact, defined by 18 U.S.C. §§ 2246(2) and 2246(3) (see
 U.S.S.G. § 2G2.1, App. Note 2), does not include, and goes well beyond, such conduct, instead

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                  If the Court does not find that the cross reference to § 2G2.1 applies, the
 government respectfully submits that a similar enhancement under § 2G1.3(b)(2)(B) would
 apply.
          17
                  The defendant also suggests that the enhancement was wrongly applied because
 in Illinois, Jane could consent to sexual contact with the defendant at 17 years old. (May 27,
 2022 Sent. Mem. 12). The government agrees that in Illinois, a 17-year-old could legally
 consent to sexual contact, but submits that the legality of sexual contact has no bearing on
 whether the enhancement amounts to double counting. Moreover, Jane testified that the
 defendant recorded her engaging in sexual contact in California, where there is no dispute that
 she was not legally able to consent to sexual contact with the defendant. (T. 889). Nor need the
 jury make a finding, as the defendant suggests (May 27, 2022 Sent. Mem. 12 n.1), that the
 conduct occurred in California.

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 covering contact between certain body parts and intentional touching of body parts.
 Accordingly, the enhancement is not duplicative.

                2.      Use of an Interactive Computer Service Enhancement
                        (Section 2G2.1(b)(6))

                The defendant objects to the application of a two-level enhancement for the use of
 a computer or interactive computer service to induce the minor to engage in sexually explicit
 conduct, pursuant to U.S.S.G. § 2G2.1(b)(6). (May 27, 2022 Sent. Mem. 13-14). Section
 2G2.1(b)(6) provides that the two-level enhancement is warranted where:

                If, for the purpose of producing sexually explicit material . . . , the
                offense involved . . . the use of a computer or an interactive
                computer service to (i) persuade, induce, entice, coerce, or
                facilitate the travel of, a minor to engage in sexually explicit
                conduct, or to otherwise solicit participation by a minor in such
                conduct; or (ii) solicit participation with a minor in sexually
                explicit conduct . . . .

 U.S.S.G. § 2G2.1(b)(6). The government submits that the enhancement is properly applied. The
 defendant stayed in touch with Jane by cellular telephone and regularly used a cellular telephone
 to communicate with Jane, in order to induce her to travel to see him and to instruct her to meet
 him in a location where he intended to record sexual activity. Government Exhibit 157 shows
 the extensive communications via cellular telephone that the defendant had with Jane prior to her
 turning 18 years old.

                3.      Sadistic Conduct Enhancement (Section 2G2.1(b)(4))

                The defendant objects to the application of a four-level enhancement, pursuant to
 U.S.S.G. § 2G2.1(b)(4). (May 27, 2022 Sent. Mem. 13). Section 2G2.1(b)(4) provides that the
 enhancement applies when the “offense involved material that portrays (A) sadistic or
 masochistic conduct or other depictions of violence . . . .” U.S.S.G. § 2G2.1(b)(4). The
 government agrees that there was no evidence that the defendant produced visual depictions of
 Jane that included sadistic or masochistic conduct or other depictions of violence while she was
 under 18 years old, and therefore submits that this enhancement is not warranted. The
 government further disagrees with the Probation Department’s contention in the PSR addendum
 that according to the principles of relevant conduct, the defendant’s use of sadistic punishment as
 to Jane warrants this enhancement. (PSR Addendum at 13). As described above, the
 government submits that the conduct that forms the basis for the forced labor predicate (R.A.
 Eleven) – which the government agrees does involve sadistic conduct on the part of the
 defendant – should be treated as a separate offense from this predicate and therefore the four-
 level enhancement should not apply here.

                4.      Custody, Care or Supervising Enhancement (Section 2G2.1(b)(5))

               The defendant objects to the two-level enhancement pursuant to U.S.S.G.
 § 2G2.1(b)(5). (May 27, 2022 Sent. Mem. 17). For the reasons described in more detail above,



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 the enhancement for Jane being in the custody, care, or supervisory control of the defendant
 should apply. See U.S.S.G. § 2G2.1(b)(5).

        J.      Racketeering Act Eleven: Forced Labor (Jane Doe #5 – Jane)

                   As to Racketeering Act Eleven, the defendant argues that the government did not
 establish that the defendant used force or the threat of force to cause Jane to engage in sexual
 contact with others, but concedes that if there was such evidence, he agrees with the Probation
 Department’s calculation as to the applicable guideline for this act. (May 27, 2022 Sent. Mem.
 14). However, as set forth above with respect to Racketeering Act Six – forced labor as to
 Jerhonda – the government submits that because the conduct was not committed in the territorial
 jurisdiction of the United States, the defendant did not commit a violation of 18 U.S.C. § 2241 or
 2242, and therefore the defendant did not commit that offense, as required for an enhancement
 under § 2H4.1(b)(4). Nonetheless, there is a preponderance of evidence showing that the
 defendant did use the threat of force to cause Jane to engage in sexual acts with others. As Jane
 testified at trial, which testimony was corroborated by, among other things, letters recovered
 from the defendant’s residence and storage facility, the defendant regularly spanked – or
 “chastised” – and otherwise physically assaulted Jane when Jane broke any of the defendant’s
 many rules. Immediately before Jane first had sexual contact with Alex, also known as
 “Nephew,” the defendant spanked Jane and two of his other girlfriends approximately 15 times
 each and then continued to hit Jane more. (T. 1040-42). Furthermore, Jane testified that she had
 sexual contact with others at the defendant’s direction not because she wanted to, but rather
 because she feared consequences that would follow any refusal. (T. 1050 (testifying that she
 had sexual contact with Nephew “[b]ecause I would have gotten chastised regardless, so it
 wouldn’t have made a difference.”)). Accordingly, the Court may depart upwardly as to this
 particular racketeering act because the adjusted offense level does not take into account the
 defendant’s commission of criminal sexual abuse.

        K.      Racketeering Acts Twelve and Fourteen: Mann Act Violations
                (Jane Doe #6 – Faith)

                  As to Racketeering Acts Twelve and Fourteen, the defendant objects to the four-
 level enhancement, pursuant to U.S.S.G. § 2G1.1(b)(1). (May 27, 2022 Sent. Mem. 14-15). The
 four-level enhancement is warranted “[i]f (A) subsection (a)(2) applies; and (B) the offense
 involved fraud or coercion . . . .” U.S.S.G. § 2G1.1(b)(1). At issue is only whether the offense
 involved fraud or coercion. 18 Here, a preponderance of the evidence supports that the offense
 involved fraud, i.e., that the defendant knowingly made a misstatement or omission of a material
 fact to entice the victim. A material fact is one that a reasonable person would expect to rely on
 when making a decision. Specifically, the defendant induced Faith to travel to New York and



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                 Application Note 2 provides, “For purposes of subsection (b)(1), “coercion”
 includes any form of conduct that negates the voluntariness of the victim. This enhancement
 would apply, for example, in a case in which the ability of the victim to appraise or control
 conduct was substantially impaired by drugs or alcohol. This characteristic generally will not
 apply if the drug or alcohol was voluntarily taken.”

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 engage in sexual intercourse, but intentionally concealed from her that he had contracted genital
 herpes. As a result, the offense involved “fraud” and the Court should apply the enhancement.

        L.      Racketeering Act Thirteen: Forced Labor of Faith (Jane Doe #6 - Faith)

                As to Racketeering Act Thirteen, the defendant claims that there was no evidence
 that Faith was forced or threatened with physical harm to give the defendant oral sex and
 therefore objects to the application of U.S.S.G. § 2H4.1(b)(4). (May 27, 2022 Sent. Mem. 5).
 The government does not contend that the defendant used force or express threats of physical
 harm, but submits that § 2H4.1(b)(4) applies because his conduct still amounted to criminal
 sexual abuse.

                 As noted above, Section 2H4.1(b)(4) applies when “any other felony offense was
 committed during the commission of, or in connection with, the peonage or involuntary servitude
 offense….” U.S.S.G. § 2H4.1(b)(4). Application Note 2 provides that “‘any other felony
 offense’ means any conduct that constitutes a felony offense under federal, state, or local law
 (other than an offense that is itself covered by this subpart).” U.S.S.G. § 2H4.1, App. Note 2.
 When § 2H4.1(b)(4) applies, the Guidelines dictate that the offense level should be increased to
 the greater of (i) the adjusted offense level according to § 2H4.1(a) to (b)(3) plus two levels, or
 (ii) the offense level form the offense guideline applicable to the other offense plus two levels,
 provided it is not greater than 43. U.S.SG. § 2H4.1(b)(4).

                 The government respectfully submits that the defendant’s conduct as to Faith
 included causing her to engage in a sexual act by placing her in fear, as found by the jury when it
 concluded that Racketeering Act Thirteen was proven, and that conduct would amount to a
 violation of California Penal Law § 518, which makes it a felony to obtain consideration –
 including sexual conduct – induced by a wrongful use of fear, and is akin to a violation of 18
 U.S.C. § 2242. Specifically, as Faith testified at trial, after essentially isolating her for several
 hours in his Sprinter van and then inside a recording room at a studio in Los Angeles, the
 defendant led Faith into a room the size of a walk-in closet, within the larger recording room.
 (T. 2250). When Faith entered, she saw a gun on an ottoman in the room; the defendant’s
 demeanor changed and he “got real serious.” (T. 2250). He moved the gun near him, sat down
 in a chair and told Faith to stand across from him. (T. 2250-51). After taking photographs of
 Faith, and getting irritated with her for not being “sexy enough,” the defendant asked Faith a
 series of intrusive questions, including asking her how many men had seen her naked and how
 many male friends she had, telling her there would be consequences if she did not answer
 truthfully. (T. 2251, 2253). When Faith responded in a manner he did not like, the defendant
 stated “do you want to take that back?” (T. 2251). Faith said no; the defendant then paused and
 got a stern look on his face, telling Faith that he and her father had the “same gift” of “spiritual
 discernment” and that he would know if she was lying to him. (T. 2251-52). Faith was taken
 aback. (T. 2252). The defendant then stood up and put a pillow on the floor and told Faith to get
 on her knees, which she did. (T. 2252). With his gun nearby, the defendant then pulled out his
 penis, grabbed the back of Faith’s neck, told her to “suck [his] dick” and pushed her forward so
 her mouth made contact with his penis. (T. 2252). Faith was “intimidated” and did not want to
 give Kelly oral sex, but she did so. (T. 2252-53). Throughout, Kelly’s hand remained on the
 back of her neck guiding her. (T. 2253). Faith did not feel like she could leave the room
 because she was “under [Kelly’s] rules and he had a weapon so [she] wasn’t even going to step


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 out of line.” (T .2254). In these circumstances, it is clear that the defendant placed Faith in fear
 to cause her to engage in oral sex with him. The enhancement is therefore warranted. Under
 that analysis, the adjusted offense level would be 32 (i.e., the base offense level of 30, pursuant
 to U.S.S.G. § 2A3.1(b)(2), plus two levels pursuant to U.S.S.G. § 2H4.1(b)(4)(B)).

        M.      Aggravating Role Enhancement (Section 3B1.1(a))

                   Finally, the government submits that notwithstanding the defendant’s objection
 (May 27, 2022 Sent. Mem. 16), a four-level role enhancement under U.S.S.G. § 3B1.1(a) is
 warranted. Section 3B1.1(a) provides for a four-level enhancement where a “defendant was an
 organizer or leader of a criminal activity that involved five or more participants or was otherwise
 extensive . . . .” U.S.S.G. § 3B1.1(a). The application notes explain that while “[a] ‘participant’
 is a person who is criminally responsible for the commission of the offense[,] … [i]n assessing
 whether an organization is ‘otherwise extensive,’ all persons involved during the course of the
 entire offense are to be considered. Thus, a fraud that involved only three participants but used
 the unknowing services of many outsiders could be considered extensive.” U.S.S.G. § 3B1.1,
 App. Notes 1, 3. Application Note 4 makes clear:

                In distinguishing a leadership and organizational role from one of
                mere management or supervision, titles such as “kingpin” or
                “boss” are not controlling. Factors the court should consider
                include the exercise of decision making authority, the nature of
                participation in the commission of the offense, the recruitment of
                accomplices, the claimed right to a larger share of the fruits of the
                crime, the degree of participation in planning or organizing the
                offense, the nature and scope of the illegal activity, and the degree
                of control and authority exercised over others. There can, of
                course, be more than one person who qualifies as a leader or
                organizer of a criminal association or conspiracy. This adjustment
                does not apply to a defendant who merely suggests committing the
                offense.

 U.S.S.G. § 3B1.1, App. Note 4. Furthermore, in United States v. Ivezaj, the Second Circuit
 explained that in a RICO offense, “a defendant’s role adjustment is to be made on the basis of
 the defendant’s role in the overall RICO enterprise.” 568 F.3d 88, 99 (2d Cir. 2009). Viewed
 through that lens, it is clear that the defendant was the leader of the enterprise and that the four-
 level enhancement is warranted.

                 In opposing the role enhancement, the defendant’s argument is two-fold. First, he
 challenges the existence of the enterprise, but the jury clearly and necessarily rejected that
 contention when it found him guilty of racketeering. (May 27, 2022 Sent. Mem. 16). Second, he
 suggests that a role enhancement is only warranted if the activity overseen by the defendant
 involved five or more individuals also engaged in criminal activity. (Id.). Even assuming
 arguendo that there were not five “participants” involved in the criminal activity – as that term is
 defined, the government submits that the criminal activity overseen by the defendant was
 “otherwise extensive.” The defendant oversaw dozens of his employees and associates – i.e., the
 inner circle – who, knowingly or not, were critical to his ability to carry out the offenses he


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 committed. See United States v. Kent, 821 F.3d 362, 369 (2d Cir. 2016) (“In determining the
 number of participants, a district court considers: (1) the number of knowing participants in the
 criminal activity; (2) the number of unknowing participants whose activities were organized or
 led by the defendant with specific criminal intent; and (3) the extent to which the services of the
 unknowing participants were peculiar and necessary to the criminal scheme.”). Thus, the
 enhancement is warranted.

                                              ***
                The government submits that the applicable Guidelines calculation is, as follows:

 Racketeering Act One: Bribery (Jane Doe #1 – Aaliyah)

        Base Offense Level (§ 2C1.1(a)(2))                                            12

        Adjusted Offense Level:                                                       12

 Racketeering Act Two: Sexual Exploitation of a Child (Jane Doe #2 – Stephanie)

        Base Offense Level (§ 2G2.1(a)(1))                                            32

        Plus: Offense involved Sexual Act or Sexual Contact
              (§ 2G2.1(b)(2)(A))                                                      +2

        Adjusted Offense Level:                                                       34

 Racketeering Act Five: Mann Act Violation (Jane Doe #4 – Jerhonda)

        Base Offense Level (§ 2G1.3(a)(4))                                            24

        Plus: Participant Otherwise Unduly Influenced a Minor
              (§ 2G1.3(b)(2)(B))                                                      +2

        Plus: Offense Involved Use of a Computer or
              Interactive Computer Service (§ 2G1.3(b)(3))                            +2

        Plus: Offense involved Sexual Act or Sexual Contact
              (§ 2G2.1(b)(4)(A))                                                      +2

        Adjusted Offense Level:                                                       30

 Racketeering Act Six: Forced Labor (Jane Doe #4 – Jerhonda)

        Base Offense Level (2H4.1(a)(1))                                              22

        Adjusted Offense Level                                                        22

 Racketeering Act Seven: Sexual Exploitation of a Child (Jane Doe #4 – Jerhonda)

        Base Offense Level (§ 2G2.1(a)(1))                                            32


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        Plus: Offense involved Sexual Act or Sexual Contact
              (§ 2G2.1(b)(2)(A))                                             +2

        Plus: Offense Involved Use of a Computer or
              Interactive Computer Service (§ 2G2.1(b)(6))                   +2

        Adjusted Offense Level:                                              36

 Racketeering Act Eight: Mann Act Violation (Jane Doe #5 - Jane)

        Base Offense Level (§ 2G1.1(a)(2))                                   14

        Plus: Offense Involved Fraud (§ 2G1.1(b)(1))                         +4

        Adjusted Offense Level                                               18

 Racketeering Act Nine: Mann Act Violation (Jane Doe #5 – Jane)

        Base Offense Level (§ 2G1.3(a)(4))                                   24

        Plus: Minor was otherwise in the custody, care, or
              supervisory control of the defendant (§ 2G1.3(b)(1)(B))        +2

        Plus: Participant Otherwise Unduly Influenced a Minor
              (§ 2G1.3(b)(2)(B))                                             +2

        Plus: Offense Involved Use of a Computer or
              Interactive Computer Service (§ 2G1.3(b)(3))                   +2

        Plus: Offense involved Sexual Act or Sexual Contact
              (§ 2G2.1(b)(4)(A))                                             +2

        Adjusted Offense Level:                                              32

 Racketeering Act Ten: Sexual Exploitation of a Child (Jane Doe #5 – Jane)

        Base Offense Level (§ 2G2.1(a)(1))                                   32

        Plus: Offense involved Sexual Act or Sexual Contact
              (§ 2G2.1(b)(2)(A))                                             +2

        Plus: Offense Involved Use of a Computer or
              Interactive Computer Service (§ 2G2.1(b)(6))                   +2

        Plus: Minor was otherwise in the custody, care, or
              supervisory control of the defendant (§ 2G1.1(b)(5))           +2

        Adjusted Offense Level:                                              36



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 Racketeering Act Eleven: Forced Labor (Jane Doe #5 – Jane)

        Base Offense Level (§ 2H4.1(a)(1))                              22

        Adjusted Offense Level                                          22

 Racketeering Act Twelve: Mann Act Violation (Jane Doe #6 - Faith)

        Base Offense Level (§ 2G1.1(a)(2))                              14

        Plus: Offense Involved Fraud (§ 2G1.1(b)(1))                    +4

        Adjusted Offense Level                                          18

 Racketeering Act Thirteen: Forced Labor (Jane Doe #6 - Faith)

        Base Offense Level (§§ 2H4.1(a)(1), 2H4.1(b)(4), 2A3.1(a)(2))   30

        Plus: Two-Level Increase (§ 2H4.1(b)(4)(B))                     +2

        Adjusted Offense Level                                          32

 Racketeering Act Fourteen: Mann Act Violation (Jane Doe #6 - Faith)

        Base Offense Level (§ 2G1.1(a)(2))                              14

        Plus: Offense Involved Fraud (§ 2G1.1(b)(1))                    +4

        Adjusted Offense Level                                          18

               Multiple Racketeering Act Analysis

                      Racketeering Act One                0

                      Racketeering Act Two                1

                      Racketeering Act Five               ½

                      Racketeering Act Six                0

                      Racketeering Act Seven              1

                      Racketeering Act Eight              0

                      Racketeering Act Nine               1

                      Racketeering Act Ten                1

                      Racketeering Act Eleven             0



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                        Racketeering Act Twelve                0

                        Racketeering Act Thirteen              1

                        Racketeering Act Fourteen              0

                        Total Units:                           5½

                Plus: Levels Added (§ 3D1.4)                                  +5

                Plus: Aggravated Role                                                 +4

                Total Offense Level                                                   45

 Based on a total offense level of 45 and a criminal history category of I, the applicable Guidelines
 range is life imprisonment.

 II.     A Sentence in Excess of 25 Years is Warranted

                 The government respectfully submits that a sentence in excess of 25 years is
 appropriate in light of all relevant factors, including the nature and circumstances of the offense,
 the history and characteristics of the defendant, and the need for the sentence to reflect the
 seriousness of the offense, to promote respect for the law, to provide just punishment, to afford
 adequate deterrence and to protect the public.

        A.      Legal Standard

                The Sentencing Guidelines are advisory, not mandatory. United States v.
 Booker, 543 U.S. 220, 259-60 (2005). However, the Supreme Court held in Booker that the
 sentencing court must consider the Guidelines in formulating an appropriate sentence. Id. In
 Gall v. United States, 552 U.S. 38 (2007), the Supreme Court set forth the procedure for
 sentencing courts to follow in light of Booker:

                [A] district court should begin all sentencing proceedings by
                correctly calculating the applicable Guidelines range. As a matter
                of administration and to secure nationwide consistency, the
                Guidelines should be the starting point and the initial benchmark.

 Gall, 552 U.S. at 49 (citation omitted). Next, a district court should “consider all of the
 § 3553(a) factors to determine whether they support the sentence requested by a party. In so
 doing, [the district court] may not presume that the Guidelines range is reasonable. [The district
 court] must make an individualized assessment based on the facts presented.” Id. at 49-50
 (citation and footnote omitted).




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        B.      Analysis

                Based on the factors set forth in 18 U.S.C. § 3553(a), a sentence in excess of 25
 years is appropriate in this case.

                1.      The Nature and Circumstances of the Offenses

                 Relying on his inner circle and his fame and wealth as a successful R&B singer,
 the defendant engaged in a conscious, repeated pattern of enticement of minors, sexual
 exploitation and sexual abuse, among other crimes, that spanned a period of decades. Through
 his actions, the defendant exhibited a callous disregard for the very real effects that his crimes
 had on his victims and has shown no remorse for any of his conduct. Indeed, the defendant’s
 decades of crime appear to have been fueled by narcissism and a belief that his musical talent
 absolved him of any need to conform his conduct – no matter how predatory, harmful,
 humiliating or abusive to others – to the strictures of the law.

                 The nature and circumstances of the defendant’s crimes are exceptionally serious.
 Racketeering – a crime that penalizes individuals like the defendant who commit a pattern of
 certain crimes backed by a network of others – is a serious crime that warrants a significant
 punishment, as are the crimes of bribery, enticement of minors, sexual exploitation and sexual
 abuse. In many ways, however, the defendant’s conduct was more nefarious than the typical
 cases involving such crimes because he committed these crimes using his fame and stardom as
 both a shield, which prevented close scrutiny or condemnation of his actions, and a sword, which
 gave him access to wealth and a network of enablers to facilitate his crimes, and an adoring fan-
 base from which to cull his victims.

                 Put simply, the defendant’s crimes were calculated, methodical, and part a long-
 standing pattern of using his platform as a larger-than-life musical persona and his deep network
 to gain access to teenagers, many of whom were particularly vulnerable, and then to exploit them
 for his personal gain and sexual gratification. Aaliyah was only 12 at the time the defendant’s
 sexual abuse of her began and 15 when he secretly and fraudulently married her in an effort to
 protect himself from the consequences of that abuse. Stephanie – 17 years old when the
 defendant sexually exploited her - testified that she was previously sexually abused and that she
 was “really scared” when the defendant told her that he was going to make a sexually-explicit
 video of her. (T. 1631 (“[T]hat was definitely the hardest time of my life. I had a very low self-
 esteem. I had already been through sexual trauma and abuse within my family, by my first boss,
 by men on the street. It was the hardest time of my life. I was very vulnerable.”); T. 1644). The
 defendant’s exploitation of Stephanie was exacerbated when the defendant refused to return or
 destroy the video recordings he made of her, despite her pleas for him to do so. (T. 1658). Sonja
 – then an aspiring radio disk jockey in her twenties – recounted in vivid detail how she awoke in
 the defendant’s studio to find her underwear removed and the defendant fixing his pants,
 evidencing that he had sexually assaulted her while she slept. Jerhonda – 16 years old when the
 defendant abused her – broke down in tears when she read from a journal entry about the last
 time the defendant abused her. She read:




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                I went to Rob’s house and Rob called me a silly, a silly bitch. Rob
                slapped me three times. He said if I lie to him again it’s not going
                to be an open hand next time. He spit in my face and in my mouth.
                And he slapped me in my face again for the fourth time. He
                choked me during an argument. I had sex with him. I had oral sex
                with him. And I became fed up with him and went home and
                confessed [to her mother].

 (T. 357-58). Jane – 17 years old when the defendant started to abuse her – testified that her
 abuse, which caused her to forego attending her senior year of high school in person, left her
 with an incurable sexually transmitted disease and caused her to endure physical abuse almost
 every two to three days during the entire four years that she spent with him. Faith – 19 years old
 when she first met the defendant – testified that he exposed her to genital herpes without her
 consent, became increasingly controlling, and forced her to give him oral sex after she broke one
 of his rules in Los Angeles. At his trial, many of the defendant’s victims overcame immense fear
 and trepidation and relived some of the worst experiences of their lives in a public courtroom in
 front of the man who abused them and, in some cases, controlled every aspect of their lives –
 from when they could go to the bathroom to who they could look at and whether they could
 leave a room or a bus – for months or even years. The defendant likely believed that his very
 presence in the courtroom would intimidate and alter their testimony. But it did not. After years
 of the defendant having committed crimes with impunity – using his fame, money, power and
 network to intimidate, silence and threaten his victims – they were able to tell the jury and the
 Court what they experienced in the veritable “twilight zone” that the defendant created, and his
 inner circle sustained and helped protect. Many of those victims were subject to harassment and
 threats on social media and otherwise – both before and after the trial – from the defendant’s
 supporters and loyal fanbase.

                 The testimony of such victims is all the more remarkable given the methods the
 defendant used to prevent his victims from coming forward in the first place. The defendant
 regularly required his victims to pen letters with embarrassing falsehoods, which letters he
 maintained at a storage facility under lock and key ready for use if anyone dared to “betray” him
 by exposing his crimes. In fact, when Jane testified, the defendant cross-examined her with the
 very letters containing embarrassing falsehoods that the defendant directed her to write and that
 he maintained in pristine condition using document protectors for his protection.

                 The defendant also entered into settlement agreements that prohibited the parties
 from ever speaking of the time they spent with the defendant and called for the entry of
 liquidated damages should they violate that provision. Indeed, his methods worked so well that
 some potential victim witnesses simply refused to meet with the government during the
 investigation, citing the extraordinary harm that would result from reliving that period of their
 lives and fearing that meeting with law enforcement would expose them to financial ruin. Those
 who did “betray” the defendant exposed themselves to full-scale retaliatory tactics by the
 defendant and the network backing him.

                For example, after Faith filed a civil lawsuit against the defendant, the defendant,
 along with his one-time business manager, Donnell Russell, and Russell’s mother, arranged for



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 compromising photographs the defendant had taken of Faith to be sent to her civil lawyer in
 Brooklyn, New York, with a letter threatening, among other things, to release uncropped
 versions of the photographs publicly if she did not abandon her lawsuit and stop speaking
 publicly about the defendant. Faith did not withdraw her lawsuit. Thereafter, Russell sent
 threatening texts to Faith and her mother, including the same cropped photographs with the
 ominous words “Pull the plug or you will be exposed” and “Criminal charges to follow!”, and
 further created a Facebook page using an alias, “Colon Dunn,” called “Surviving Lies,” where he
 ultimately followed through on those threats and publicly posted graphic photographs of Faith,
 before Facebook took the photographs down.

                  The defendant also ensured the protection and continuation of his enterprise and
 his ability to engage in criminal conduct by demanding absolute loyalty and sometimes using
 threats against others – including those in his inner circle. For example, as he testified at trial,
 when Demetrius Smith expressed doubt about his plan to marry the 15-year-old Aaliyah to avoid
 exposure of the defendant’s sexual abuse of Aaliyah, the defendant told him he needed to “pick a
 side.” (T. 710). On another occasion, when the defendant faced another legal predicament
 involving another young female, he told Cheryl Mack that she needed to “pick a team” and that
 “in these types of situations people come up missing,” which Mack clearly understood as a
 threat. (T. 3783-84). In the months before his arrest, the defendant told another woman, Jane
 Doe #19, that she needed to decide which team she was on, “Team Kellz” or the other one, and
 that she had a beautiful family and she did not want to be “handled,” a comment that Jane Doe
 #19 construed as a threat.

                The seriousness of the defendant’s crimes and the harm he caused is also laid bare
 in the sheer number of his victims and the three decades over which these crimes spanned. The
 indictment alleged charges related to six victims and 12 victims testified at trial regarding the
 abuse the defendant committed.

                 Finally, the pattern of crimes committed by the defendant demonstrates an
 escalation in the brazenness with which he engaged in illegal conduct. As made clear through
 Jane’s extensive testimony at trial, the defendant used physical violence and psychological
 manipulation to ensure that Jane and his other purported “girlfriends” afforded the defendant the
 adoration he demanded, obeyed every rule he promulgated, and complied with all of his
 demands, including having sexual contact with numerous other male and female partners on the
 defendant’s command. A letter recovered showed the defendant would not allow one woman –
 then 26 years old – to use a telephone her father had bought her and required her to ask
 permission from him to see her mother. In another note that was recovered by law enforcement,
 Jane recounted the defendant’s instructions: “Trust daddy and do what ever [sic] he says ,
 whenever he says , with no rebuttal , disrespect or rebellion.” (GX 325). A video recovered
 from the defendant’s residence showed the defendant violently spanking one of his victims,
 imposing severe pain and leaving the victim in tears, and then requiring her to walk back and
 forth, naked, making humiliating and disparaging remarks about herself, over and over and over
 again. In doing so, the defendant severely physically and psychologically scarred all of his
 victims repeatedly and consistently. A sentence in excess of 25 years is necessary to reflect the
 profound seriousness of the crimes committed by the defendant.




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                2.     The Defendant’s History and Characteristics

                  The defendant’s history and characteristics also support a sentence in excess of
 25 years. The defendant’s crimes were not aberrational; they were his regular mode of
 operation, which he had no intention of ceasing. Over the course of years, numerous women and
 girls filed lawsuits against the defendant alleging various forms of sexual exploitation by him.
 Even assuming the defendant did not understand the harm he was causing to these women and
 girls before they filed those lawsuits, he certainly knew at the time he agreed to pay them
 hundreds of thousands of dollars. But these financial consequences did nothing to even curb, let
 alone stop, his pattern of abuse. Nor did the defendant’s 2002 arrest and eventual state trial in
 2008 stop the defendant from repeatedly committing crime. If anything, the defendant’s
 acquittal after his state trial appears to have emboldened the defendant with a belief that he was
 untouchable and, over the next decade, the defendant’s crimes continued unabated.

                3.     Reflecting the Seriousness of the Offense, Promoting Respect for the
                       Law and Providing Just Punishment

                The sentence must reflect the seriousness of the offense, promote respect for the
 law and provide just punishment. 18 U.S.C. § 3553(a)(2)(A). As noted above, the defendant’s
 offenses – racketeering involving a pattern of enticement of minors, sexual exploitation and
 sexual abuse – are serious. Again and again, the defendant has made clear that he believes he is
 above the law, thereby demonstrating an utter lack of respect for it.

                4.     Affording Deterrence and Protecting the Public

                The sentence must afford adequate deterrence to criminal conduct and protect the
 public from further crimes of the defendant. 18 U.S.C. § 3553(a)(2)(B) and (C). “Under
 section 3553(a)(2)(B), there are two major considerations: specific and general deterrence.”
 United States v. Davis, No. 08-CR-332 (JBW), 2010 WL 1221709, at *2 (E.D.N.Y. Mar. 29,
 2010).

                Given the breadth of the defendant’s conduct and its continuity over a period of
 decades, the government has little doubt that if afforded an opportunity to offend again, the
 defendant would do so. The instant offenses and the defendant’s history demonstrate that he
 poses a serious danger to the public. His actions were brazen, manipulative, controlling and
 coercive. He has shown no remorse or respect for the law. As set forth above, more than a
 decade ago, several women and girls retained legal representation to pursue charges against the
 defendant as a result of harm he had caused them. The harms raised in these matters included
 the defendant’s having sexual contact with minors who were too young to consent to such
 contact, exposing women and girls to genital herpes and physical assault. As a result of the
 defendant’s wealth, he was able to resolve these matters without facing criminal charges and
 instead paid his victims to settle these cases. Notwithstanding this opportunity to reform his
 behavior a second, third and fourth time, the defendant was not deterred and he continued to
 engage in criminal conduct. In fact, his conduct escalated.




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                 As noted above, the defendant also previously faced criminal prosecution in Cook
 County, Illinois, for sexually exploiting a minor by producing a videotape of her engaging in
 sexually explicit conduct. Putting aside his guilt as to those charges, 19 there can be no doubt
 that the defendant was then on notice as to the criminality of such behavior, its seriousness and
 the penalties he faced for engaging in any such conduct. But again, that experience did not deter
 the defendant from engaging in criminal activity, including the very type of conduct with which
 he was then charged. As a result, the government respectfully submits that the defendant is
 unlikely to be deterred from further sexually abusing and exploiting children and others, and the
 sentence should therefore incapacitate the defendant for a lengthy period of time to prevent him
 from further victimizing others.

                The sentence sought by the government would incapacitate the defendant until he
 reaches his 70s. Given the need for specific deterrence and incapacitation, the government
 respectfully submits that a shorter sentence would be insufficient to adequately protect the
 public. See 18 U.S.C. § 3553(a)(2)(C).

                 A significant sentence is also necessary for general deterrence. While the
 government doubts that the defendant will be deterred, a lengthy sentence of imprisonment will
 serve to deter others—including those with wealth, fame and the outsized power such status
 brings—from engaging in similar crimes. This is particularly so given the high-profile nature of
 the defendant and the likelihood that the length of his sentence will be widely publicized.

                5.     Avoiding Unwarranted Sentence Disparities

                Finally, a sentence in excess of 25 years is necessary to avoid unwarranted
 sentence disparities among defendants with similar records who have been found guilty of
 similar conduct. 18 U.S.C. § 3553(a)(6).

 IV.    A Fine Within the Guidelines Range Is Warranted

                 The government also asks the Court to impose a fine. Section 5E1.2(a) of the
 Guidelines provides that “[t]he court shall impose a fine in all cases, except where the defendant
 establishes that he is unable to pay and is not likely to become able to pay any fine.” The
 defendant bears the burden of proving an inability to pay. United States v. Tocco, 135 F.3d 116,
 133 (2d Cir. 1998). In this case, the defendant cannot sustain this burden. The government
 respectfully submits that the sentence in this case should include a fine within the advisory
 Guideline range of $50,000 to $250,000. U.S.S.G. § 5E1.2(c)(3).




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                 The defendant was acquitted of the charges in Cook County, but is now facing
 charges for that same conduct federally in the Northern District of Illinois. The government does
 not seek for the Court to rely upon that conduct in sentencing the defendant here.


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                                          CONCLUSION

                In this case, given all of the facts and circumstances discussed above, a sentence
 in excess of 25 years is necessary to achieve the purposes set forth in 18 U.S.C. § 3553(a).



                                                      Respectfully submitted,

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